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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION

ALLISON COLLIER,                  )
                                  )
    Plaintiff,                    )
                                  )         CIVIL ACTION NO.
    v.                            )          2:07cv922-MHT
                                  )               (WO)
HSBC BANK NEVADA, N.A.,           )
a foreign company,                )
                                  )
    Defendant.                    )

                              JUDGMENT

    Pursuant to the joint stipulation of dismissal (Doc.

No. 33), it is the ORDER, JUDGMENT, and DECREE of the

court that defendant HSBC Bank Nevada, N.A., a foreign

company, is dismissed with prejudice, with costs taxed as

paid.

    The clerk of the court is DIRECTED to enter this

document on the civil docket as a final judgment pursuant

to Rule 58 of the Federal Rules of Civil Procedure.

    This case is now over and can be closed.

    DONE, this the 26th day of September, 2008.


                             /s/ Myron H. Thompson
                          UNITED STATES DISTRICT JUDGE
